              In the
         Court of Appeals
 Second Appellate District of Texas
          at Fort Worth
       ___________________________

            No. 02-24-00196-CR
       ___________________________

ANICETO TURRUBIATES SANCHEZ, Appellant

                       V.

            THE STATE OF TEXAS


    On Appeal from the 415th District Court
            Parker County, Texas
         Trial Court No. CR21-0818


   Before Sudderth, C.J.; Kerr and Birdwell, JJ.
 Memorandum Opinion by Chief Justice Sudderth
                           MEMORANDUM OPINION

      After Appellant Aniceto Turrubiates Sanchez appealed his judgment of

conviction, the trial court signed an order vacating the judgment and granting

Sanchez’s motion for new trial. See Tex. R. App. P. 21.9 (authorizing trial court to

grant new trial and providing that such an order “restores the case to its position

before the former trial”). Given this order, Sanchez filed an unopposed motion to

dismiss his appeal as moot.1

      Because we agree that the trial court’s order moots this appeal, we dismiss the

appeal for want of jurisdiction. See Tex. R. App. P. 43.2(f); Reed v. State, Nos. 14-18-

00882-CR, 14-18-00883-CR, 2021 WL 1804546, at *1 (Tex. App.—Houston [14th

Dist.] May 6, 2021, no pet.) (per curiam) (mem. op., not designated for publication)

(recognizing that the “appeal was rendered moot by the trial court’s . . . order granting

a new trial” and dismissing appeal for want of jurisdiction); Covert v. State, No. 2-07-

355-CR, 2008 WL 467333, at *1 (Tex. App.—Fort Worth Feb. 21, 2008, no pet.) (per

curiam) (mem. op., not designated for publication) (similar, dismissing appeal on

court’s own motion).




      1
       Sanchez’s counsel signed the motion to dismiss, but Sanchez did not, so Rule
of Appellate Procedure 42.2(a) does not apply. See Tex. R. App. P. 42.2(a) (providing
for voluntary dismissal of criminal appeal upon filing of motion to dismiss signed by
both “[t]he appellant and his or her attorney”).


                                           2
                                 /s/ Bonnie Sudderth

                                 Bonnie Sudderth
                                 Chief Justice


Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024




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